Case 4:14-cr-00048-RWS-KPJ            Document 123         Filed 06/27/17       Page 1 of 3 PageID #:
                                             532

                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 UNITED STATES OF AMERICA                          §
                                                   §
 v.                                                §    CRIMINAL NO. 4:14-CR-48 RWS/KPJ
                                                   §
 JENNIFER FIELDER (2)                              §


                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE

        Pending before the Court is the Government’s request for revocation of Defendant’s

 supervised release. After the District Court referred the matter to this Court for a report and

 recommendation, the Court conducted a hearing on June 23, 2017, to determine whether Defendant

 violated her supervised release. Defendant was represented by Denise Benson. The Government was

 represented by Ernest Gonzalez.

        On April 1, 2015, Defendant was sentenced by the Honorable Robert W. Schroeder, United

 States District Judge, to a sentence of twenty-four (24) months imprisonment followed by a three (3)

 year term of supervised release for the offense of Possession of Counterfeit Obligations. Defendant

 began her term of supervision on November 4, 2015.

        On June 15, 2017, the U.S. Probation Officer filed a Petition for Warrant or Summons for

 Offender under Supervision (the “Petition”) (Dkt. 109). The Petition asserts that Defendant violated

 the following conditions of supervision: (1) Defendant shall refrain from any unlawful use of a

 controlled substance; (2) Defendant shall refrain from excessive use of alcohol and shall not

 purchase, possess, use, distribute, or administer any controlled substance or any paraphernalia related

 to any controlled substances, except as prescribed by a physician; (3) Defendant shall report to the

 probation officer and shall submit a truthful and complete written report within the first five days


                                                    1
Case 4:14-cr-00048-RWS-KPJ             Document 123         Filed 06/27/17      Page 2 of 3 PageID #:
                                              533



 of each month; (4) Defendant shall notify the probation officer ten days prior to any change of

 residence or employment; and (5) Defendant shall abstain from the use of alcohol during the term

 of supervision.

        The Petition alleges that Defendant committed the following violations: (1) On or about

 September 29, 2016, and for several consecutive days, Defendant admitted verbally and in writing

 to using heroin, methamphetamine, GHB, and alcohol; (2) On December 19, 2016, Defendant

 submitted a urine specimen that tested positive for methamphetamine. The specimen was confirmed

 by Alere Toxicology Services, Inc.; (3) Defendant failed to submit a monthly report for the months

 of April and May, 2017, as instructed. On May 5, 2017, Defendant failed to report to the U.S.

 Probation Office, Plano, as instructed; (4) During March 2017, Defendant was given permission to

 relocate to Bowie, Texas, and her supervision was accepted by the U.S. Probation Office in Wichita

 Falls, Texas. On or about April, 2017, Defendant left Bowie and reported she was going to reside

 with her parents in Aubrey, Texas. It was determined Defendant failed to reside in Aubrey and her

 whereabouts were unknown until June 13, 2017, when Defendant was arrested in Denton, Texas, on

 a State of Texas parole violation warrant; and (5) On April 19, 2016, Defendant’s conditions of

 supervision were modified for alcohol abstinence. On June 17, 2016, Defendant submitted a urine

 specimen that was confirmed positive for alcohol use by Redwood Toxicology. On or about

 September 29, 2016, Defendant consumed alcohol per her verbal and written admission on October

 6, 2016.

        At the hearing, Defendant entered a plea of true to Allegations 1 and 2. Defendant waived

 her right to allocute before the district judge and her right to object to the report and recommendation

 of this Court. The Court finds that Defendant has violated the terms of her supervised release.


                                                    2
    Case 4:14-cr-00048-RWS-KPJ          Document 123        Filed 06/27/17     Page 3 of 3 PageID #:
                                               534



                                        RECOMMENDATION

            Pursuant to the Sentencing Reform Act of 1984, and having considered the arguments

.    presented at the June 23, 2017, hearing, the Court recommends that Defendant be committed to the

     custody of the Bureau of Prisons to be imprisoned for a term of ten (10) months, with five (5)

     months to be served in the Bureau of Prisons and five (5) months to be served in a halfway house,

     with twenty-four (24) months supervised release to follow.

          SIGNED this 27th day of June, 2017.

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                                               ____________________________________
                                               KIMBERLY C. PRIEST JOHNSON
                                               UNITED STATES MAGISTRATE JUDGE




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